Case 9:22-cv-00160-DWM Document 2-1 Filed 09/20/22 Page 1of1

\ ed 2 ; “s
Darrin Oi) iam Mate
106 4th Ave. East
Polson MT, 59860

UNITED STATES DISTRICT COURT, DISTRICT OF MONTANA, MISSOULA DIVISION

Darren (dil hram Matt

Cause No.

Plaintiff,
Vv.

AFFIDAVIT IN SUPPORT
OF COMPLAINT

|
|
|
|
|
Lake County, Montana; Bill Barron; Steve |
Stanley; Gale Decker; Kate Stinger; Donald |
Bell; Ben Woods; Joel Shearer; John Todd; |
Does 1-5, individually and in their official —_ |
capacity. |

|

Defendants.

Bears Aharteel — -Patelecel hital dl Cate ——
iis Siete ee ees

Keawluticn ap aE 123° ASHT, da Using 42 US
S 983, fe Chabhaare shad ite Local aby ies F dts,

